Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 1 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 1

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 2 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E, FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cy-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 2

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 3 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E, FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cy-03708

EXHIBIT 3

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 4 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 4

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 5 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cev-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 5

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 6 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No, 2:15-cv-03708

EXHIBIT 6

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 7 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 7

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 8 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cev-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 8

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 9 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No, 2:14-ev-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 9

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 10 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr, et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 10

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 11 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 11

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 12 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cy-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cev-03708

EXHIBIT 12

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 13 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E, FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 13

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 14 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 14

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 15 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 15

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 16 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E, FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 16

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 17 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cev-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 17

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 18 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 18

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 19 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cy-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 19

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 20 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 20

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 21 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN.RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 21

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 22 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cev-03708

EXHIBIT 22

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 23 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E,. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr, et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 23

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 24 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-ev-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-cv-03708

EXHIBIT 24

FILED UNDER SEAL

2845903-1
Case 2:14-md-02592-EEF-MBN Document 5113-2 Filed 01/20/17 Page 25 of 25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) MDL No. 2592
PRODUCTS LIABILITY LITIGATION
SECTION L
THIS DOCUMENT RELATES TO: JUDGE ELDON E. FALLON
Joseph J. Boudreaux, Jr., et al. v. Janssen et al. MAGISTRATE NORTH

Case No. 2:14-cv-02720

Joseph Orr, Jr., et al. v. Janssen et al.
Case No. 2:15-ev-03708

EXHIBIT 25

FILED UNDER SEAL

2845903-1
